                    Case: 23-60069 Document: 181 Page: 1 Date Filed: 04/05/2023
                  NOTICE OF FORM FOR APPEARANCE (See Fifth Cir. Rule 12)
Only attorneys admitted to the Bar of this Court may practice before the Court. Each attorney representing a
party must complete a separate form. (COMPLETE ENTIRE FORM).
                              Fifth Cir. Case NO.          23-60069

State of Texas, et al.                                                      vs.   Environmental Protection Agency
(Short Title)
The Clerk will enter my appearance as Counsel for                 New Mexico Environment Department



______________________________________________________________________________________________________________
(Please list names of all parties represented, attach additional pages if necessary.)
The party(s) I represent IN THIS COURT                   Petitioner(s)           Respondent(s) ✔ Amicus Curiae
                                         Appellant(s)                  Appellee(s)                              Intervenor

   ✔ I certify that the contact information below is current and identical to that listed in my Appellate Filer
Account with PACER.
  /s/ David R. Baake                                                              david@baakelaw.com
(Signature)                                                                       (e-mail address)

David R. Baake                                                                    150552 (New Mexico), 325087 (California)
(Type or print name)                                                              (State/Bar No.)


(Title, if any)

 __________________________________________________________________________________________
 Baake Law, LLC
(Firm or Organization)
Address                  2131 N. Main St

City & State Las       Cruces, NM                                                                      Zip 88001

Primary Tel._ 575-343-2782                     Cell Phone:     575-343-2782
NOTE: When more than one attorney represents a single party or group of parties, counsel should designate a lead counsel. In
the event the court determines oral argument is necessary, lead counsel only will receive via e-mail a copy of the court's docket
and acknowledgment form. Other counsel must monitor the court's website for the posting of oral argument calendars.
Name of Lead Counsel: David
                          ________________________________________________________________________________
                                 R. Baake
A. Name of any Circuit Judge of the Fifth Circuit who participated in this case in the district or bankruptcy court.
n/a
B. Inquiry of Counsel. To your knowledge:
           (1) Is there any case now pending in this court, which involves the same, substantially the same, similar or related isssue(s)?
                                        Yes                           No
                                                                  ✔
           (2) Is there any such case now pending in a District Court (i) within this Circuit, or (ii) in a Federal Administrative Agency which
           would likely be appealed to the Fifth Circuit?
                                         Yes                          No
                                                                  ✔
           (3) Is there any case such as (1) or (2) in which judgment or order has been entered and the case is on its way to this Court by appeal,
           petition to enforce, review, deny?
                                          Yes                          No
                                                                  ✔
         (4) Does this case qualify for calendaring priority under 5th Cir. R. 47.7? If so, cite the type of case
                                                                                                                    No
If answer to (1), or (2), or (3), is yes, please give detailed information. Number and Style of Related Case:




Name of Court or Agency

Status of Appeal (if any)_
Other Status (if not appealed)
NOTE: Attach sheet to give further details.                                                                          DKT-5A REVISED January 2022
